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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

MELISSA MARTIN                                               :
                                                             :
       Plaintiff,                                            :
                                                             :
v.                                                           :   Case No. 1:23-cv-1076
                                                             :
STATESIDE ASSOCIATES, INC.,                                  :
                                                             :
       Defendant.                                            :

     DEFENDANT’S RESPONSE TO PLAINTIFF’S NOTICE OF SUPPLEMENTAL
                             AUTHORITY

       The supplemental authority that Plaintiff asks this Court to consider, Muldrow v. City of

St. Louis, Missouri, 144 S. Ct. 967, 2024 U.S. LEXIS 1816 (Apr. 17, 2024), is irrelevant to

Plaintiff’s constructive discharge claim (Count VIII).     Plaintiff conceded this in her since-

withdrawn Motion for Leave to Amend Plaintiff’s Memorandum in Opposition to Defendant’s

Partial Motion to Dismiss Amended Complaint (ECF 29), stating that “[w]hile the Muldrow

decision does not directly address a constructive discharge, Muldrow is relevant to Count VIII and

other claims asserted in the Amended Complaint.” ECF 29 at p. 1, ¶ 4 (emphasis added). But

Plaintiff has already stipulated to the dismissal of Counts IV, V, VI in their entirety, and to the

partial dismissal of Counts VII and VIII to the extent the allegations in those Counts rely on the

Age Discrimination in Employment Act, see ECF 27, p. 2, thus the case has no relevance to the

remaining issues in Defendant’s Partial Motion to Dismiss.




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Dated: May 16, 2024                              Respectfully submitted,

                                                SHULMAN ROGERS, P.A.

                                                By: /s/ Joy C. Einstein
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                                                     Counsel for Stateside Associates, Inc.


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 16, 2024, I served via ECF a copy of the foregoing Response
to Plaintiff’s Notice of Supplemental Authority via the court’s CM/ECF system upon all parties of
record.


                                                    /s/ Joy C. Einstein
                                                    Joy C. Einstein




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